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3                                  UNITED STATES DISTRICT COURT
4                                        DISTRICT OF NEVADA
5     UNIQUI BRADLEY,                                            Case No. 2:20-cv-02077-KJD-NJK
6                                              Plaintiff                       ORDER
7            v.
8     RAQUEL L. MCCARTER, et al.,
9                                           Defendants
10
11          This action is a pro se civil -rights complaint filed under 42 U.S.C. § 1983 by a former

12   state prisoner. Previously, the Court granted Plaintiff Uniqui Bradley leave to proceed without

13   prepaying fees or costs under 28 U.S.C. § 1915(a)(1). Docket No. 3.1 On July 22, 2021, the Court

14   entered an order screening Bradley’s civil-rights complaint. Id. The screening order imposed a

15   90-day stay and the Court entered a subsequent order assigning the case to mediation by a court-

16   appointed mediator. Docket Nos. 3, 8. The Office of the Attorney General has filed a status report

17   indicating that settlement was not reached and informing the Court of its intent to proceed with

18   this action. Docket No. 14.

19          IT IS THEREFORE ORDERED that:

20          1.      Bradley is permitted to maintain this action to conclusion without the necessity of

21   prepayment of any additional fees or costs or the giving of security therefor.

22          2.      The Clerk of the Court will electronically SERVE a copy of this order and a copy

23   of Bradley’s complaint, Docket No. 4, on the Office of the Attorney General of the State of

24   Nevada, by adding the Attorney General of the State of Nevada to the docket sheet. This does not

25   indicate acceptance of service.

26          3.      Service must be perfected no later than February 17, 2022. Fed. R. Civ. P. 4(m).

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              Bradley is not subject to the requirements of 28 U.S.C. § 1915(a)(2), (b) because she is
     no longer a “prisoner” within the meaning of the statute. See 28 U.S.C. § 1915(h).
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1           4.      Subject to the findings of the screening order, Docket No. 3, no later than December
2    10, 2021, the Attorney General’s Office will file a notice advising the Court and Bradley of: (a)
3    the names of the defendants for whom it accepts service; (b) the names of the defendants for whom
4    it does not accept service, and (c) the names of the defendants for whom it is filing the last-known-
5    address information under seal. As to any of the named defendants for whom the Attorney
6    General’s Office cannot accept service, the Office will file, under seal, but will not serve Bradley
7    the last known address(es) of those defendant(s) for whom it has such information. If the last
8    known address of the defendant(s) is a post office box, the Attorney General's Office will attempt
9    to obtain and provide the last known physical address(es).
10          5.      If service cannot be accepted for any of the named defendant(s), Bradley will file a
11   motion identifying the unserved defendant(s), requesting issuance of a summons, and specifying
12   a full name and address for the defendant(s). For the defendant(s) as to which the Attorney General
13   has not provided last-known-address information, Bradley will provide the full name and address
14   for the defendant(s).
15          6.      If the Attorney General accepts service of process for any named defendant(s), such
16   defendant(s) will file and serve an answer or other response to the complaint no later than January
17   18, 2022.
18          7.      Bradley shall serve upon defendant(s) or, if an appearance has been entered by
19   counsel, upon their attorney(s), a copy of every pleading, motion or other document submitted for
20   consideration by the Court. If Bradley electronically files a document with the Court’s electronic-
21   filing system, no certificate of service is required. Fed. R. Civ. P. 5(d)(1)(B); Nev. Loc. R. IC 4-
22   1(b); Nev. Loc. R. 5-1. However, if Bradley mails the document to the Court, she must include
23   with the original document submitted for filing a certificate stating the date that a true and correct
24   copy of the document was mailed to the defendants or counsel for the defendants. If counsel has
25   entered a notice of appearance, Bradley must direct service to the individual attorney named in the
26   notice of appearance, at the physical or electronic address stated therein. The Court may disregard
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1    any document received by a district judge or magistrate judge that has not been filed with the
2    Clerk, and any document received by a district judge, magistrate judge, or the Clerk that fails to
3    include a certificate showing proper service when required.
4           8.      This case is no longer stayed.
5           Dated: November 19, 2021.
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7                                                    Nancy J. Koppe
                                                     United States Magistrate Judge
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